Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 1 of 11 PagelD #: 869

Exhibit “1°
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 2 of 11 PagelD #: 870

1 UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

2

BS )e- es ee ee en nwee X

VERONICA BROWN,
14-CV-5960 (NG)
Plaintiff,

-against- : United States Courthouse

4

5

6

Brooklyn, New York

7 | ST. KITTS MARRIOTT RESORT

and ROYAL BEACH CASINO,

8 November 8, 2018
Defendant. : 10:00 o'clock a.m.

9

0

TRANSCRIPT OF PRE-MOTION CONFERENCE
11 BEFORE THE HONORABLE NINA GERSHON
UNITED STATES DISTRICT JUDGE.

13 | APPEARANCES:

14
For the Plaintiff: BLOCK O'TOOLE & MURPHY, LLP
15 One Penn Plaza, Suite 5315
New York, NY 10119
16
BY: DAVID L. SCHER, ESQ.
17 STEPHEN JOSEPH DONAHUE, ESQ.
18
For Defendant Marriott: WADE CLARK MULCAHY
19 180 Maiden Lane, Suite 901
New York, NY 10036
20
BY: PAUL W. VITALE, ESQ.
21
22 | Court Reporter: Charleane M. Heading
225 Cadman Plaza East
23 Brooklyn, New York
(718) 613-2643
24

Proceedings recorded by mechanical stenography, transcript
25 | produced by computer-aided transcription.

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 3 of 11 PagelD #: 871

2

1 THE CLERK: Civil cause for a pre-motion conference.
2 | Brown versus Marriott International. Docket number

3 | 14-CV-5960.

4 May I have the appearance for the plaintiff, please.
5 MR. SCHER: Good morning, Your Honor. David Scher
6 | of Block O'Toole & Murphy on behalf of plaintiff.

7 MR. DONAHUE: Joseph Donahue, Block O'Toole &

8 | Murphy, on behalf of the plaintiff. Good morning, Your Honor.
9 THE CLERK: For the defendant?
10 MR. VITALE: Paul Vitale from Wade Clark Mulcahy on
11 | behalf of the defendant Marriott International, Inc. Good
12 | morning, Your Honor.
13 THE CLERK: Thank you. Please be seated and just
14 | pull the microphone closer.
15 THE COURT: Good morning, Counsel.
16 So as I understand it, you have completed all your
17 | discovery, correct?
18 MR. SCHER: That is correct.

19 MR. VITALE: Yes, Your Honor.
20 THE COURT: Yes. And the only issue is the proposed
21 | motion to dismiss solely related to the role of Marriott
22 | International, is that correct?

23 MR. VITALE: Correct.

24 THE COURT: Okay. And are there factual disputes
25 | regarding liability, damages, et cetera?

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 4 of 11 PagelD #: 872

3
1 MR. VITALE: Well, the main crux of our motion is
2 | going to be the plaintiffs putting on the apparent agent,
3 | saying MII is apparent agent and that's what we're seeking to
4 | attack on two fronts, Your Honor, which is, one, that the
5 | plaintiff herself did not make sufficient evidentiary, there's

6 | no sufficient evidentiary fact to show apparent agency and
that Marriott International, Inc., in itself, is not an agent,

8 | you know, did not cloak the hotel in St. Kitts with apparent

9 | agency.

10 THE COURT: I understand that.

11 MR. VITALE: Yes.

12 THE COURT: My question was are there any factual

13 | disputes regarding liability and damages or shall I assume

14 | from your motion that you agree that there are factual issues
15 | regarding liability and damages?

16 MR. VITALE: There's a little bit of issue with

17 | liability, Your Honor, and damages, I don't think, I don't

18 | think we're going to make any motion or have anything with

19 | regard to damages in our motion.

20 THE COURT: Okay. What is your issue regarding

21 | liability?

22 MR. VITALE: It would just be lack of notice but I
23 | think the crux of our motion will be on the apparent agency.
24 THE COURT: The only thing you're proposing to move

25 on is --

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 5 of 11 PagelD #: 873

4

1 MR. VITALE: The apparent agency.

2 THE COURT: The apparent agency. Okay.

3 So, just to begin, I will tell you where I am at

4 | based upon my review of your materials.

5 I do not see any way that the defendant could be

6 | successful on this motion so my own inclination would be that
7 | we give you a date for a pretrial order and we fix a date for
8 | a trial. If you insist you want to make a motion, obviously,
9 | I cannot stop you from making the motion, but I thought I

10 | should let you know that I do not think it has much chance of
11 | success.

12 So with that being said, let me know what you think.
13 MR. VITALE: I still think we're going to be making
14 | the motion. I appreciate Your Honor's candor and thank you

15 | very much but for my client, we are going to have to make that
16 | motion.

17 THE COURT: We are going to have to make that

18 | motion?

19 MR. VITALE: I will have to discuss it with my
20 | client but at least at this time, Your Honor, I would like the
21 | opportunity to still submit papers to the Court.

22 THE COURT: All right. Mr. Scher or Mr. Donahue?

23 MR. SCHER: Well, obviously, we tend to agree with
24 | Your Honor. There's a Southern District case --

25 THE COURT: You can sit down.

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 6 of 11 PagelD #: 874

1 MR. SCHER: Thank you.

2 There's a Southern District decision on point

3 | involving the exact same defendant with a precisely identical

4 | agreement with a different hotel. It just happened to be in

5 | the Bahamas as opposed to St. Kitts. So I think our position
has held out. Obviously, we would be ready to proceed as Your
Honor suggests. We don't have any affirmative motion that we

6

r

8 | plan to make.
9 THE COURT: Okay. What did you think about
0

1 Judge Posner's decision that they relied on?

11 MR. SCHER: Judge Posner's decision?

12 THE COURT: Yes, in the Seventh Circuit.

13 MR. SCHER: Just give me a moment.

14 (Pause. )

15 MR. SCHER: Well, at the outset, that decision only

16 | considered the law of the State of Illinois and of the

17 | Bahamas. I think, frankly, on that basis alone, it's of

18 | little value to this proposed motion. Apparent authority is
19 | different jurisdiction to jurisdiction.

20 THE COURT: Sure. And then the other thing that I
21 | thought was remarkable was that the judge says, "Almost

22 | everyone knows that chain outlets, restaurants, motels, et
23 | cetera, et cetera, are very often franchised."

24 I don't Know whether that was a fact in dispute in

25 | the case but certainly from my experience, I would say the

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 7 of 11 PagelD #: 875

1 | opposite. This is the danger of judges drawing an inference

2 | from their own experience.

3 Actually, while we are talking about that, you

4 | finished your discovery so, therefore, all of you should know
5 | exactly what the relationship of Marriott International is to
6 | this hotel. The best that I can determine from the letters is
7 | that the hotel is actually owned by some corporate entity in

8 | St. Kitts, but is the defendant saying that you are a

9 | franchisor? Is that what you want? Is that how you want to

0 | identify yourself?

11 MR. VITALE: Actually, no, Your Honor. It's not a
12 | franchise agreement. It's a license agreement so it's a

13 | little bit different from a straight franchise.

14 THE COURT: So you are a licensor of what?

15 MR. VITALE: So, briefly, the ownership of the hotel
16 | and property will contact Marriott International and will sign
17 | basically three agreements: A management agreement, a license
18 | agreement and, since this is St. Kitts, an international

19 | services agreement. And --

20 THE COURT: And all those documents are in the

21 | discovery?

22 MR. VITALE: Yes, that's been turned over.

23 MR. SCHER: Yes.

24 THE COURT: Okay.

25 MR. VITALE: And the ownership will sign those

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 8 of 11 PagelD #: 876

1 | agreements and they're allowed to put, use the Marriott
2 | trademark. So it's not MII, and that is also the difference,
3 |] it is not MII. It's the Marriott trademark that they can use.
4 | They hire their staff, they hire the management company and
5 | it's a separate management company in this case, not MII,
managing the hotel and property and, yes, you know --

THE COURT: What is the point of the trademark?

6

7

8 | What does the trademark do, after all? The trademark tells a
9 | customer this is a brand you can rely on, this is where this
0

1 product comes from. That is definitional for trademark.
11 MR. VITALE: Yes.

12 THE COURT: So how can you win?

13 MR. VITALE: Well, again, Your Honor, it's what,

14 | it's, it is, A, plaintiff's reliance in showing --

1 THE COURT: She has evidence that she relied on it.
16 | She says, I relied on the Marriott trademark, that's why I

17 | went there.

18 What more do you need to go to the jury on that?

19 MR. VITALE: I would argue, Your Honor, that the
20 | complaint that plaintiff set forth is different than her

21 | testimony in her deposition and that there are some issues
22 | that there are --

23 THE COURT: Well, you can present that to the jury.
24 | You say she is inconsistent, she did not tell the truth, she

25 | made it all up. It is completely reasonable sounding, right,

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 9 of 11 PagelD #: 877

8

1 | what she says? You will argue this to the jury. It cannot be
2 | as a matter of law that she has not shown a reliance.

3 MR. VITALE: And, Your Honor, I still believe that

4 | the, in citing that Ninth Circuit case along with those other
5 | cases, that we can show something, we can show this as a

6 | matter of law.

7 THE COURT: Okay. All right. When can you serve

8 | the papers?

9 MR. VITALE: Thirty days, Your Honor.
10 THE COURT: December 7th.
11 Opposition?
12 MR. SCHER: May we have 30 days to oppose, please?
13 THE COURT: Okay.
14 THE CLERK: That would be January 4th.

15 THE COURT: January 4th. Okay. I think you are

16 | doing four weeks, not exactly 30 days.

12 MR. SCHER: Yes.

18 THE COURT: And the reply, you need a week?

19 MR. VITALE: Yes, a week or so, Your Honor, is fine.
20 | I know we're coming close to the new year so if counsel needs
21 | an extra day or so, but I have a feeling they'll have
22 | something at the ready pretty quickly.

23 THE COURT: I mean, the letters really -- that is

24 | why I said do we really want to go through the expense and

25 | time and energy of briefing it because it seems to me, I got a

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 10 of 11 PagelD #: 878

1 | very good picture -- I don't always in pre-motion letters, but

2 | in this case, I got a very good picture, I think, of what is

3 | at issue.

4 MR. VITALE: A week is fine.

5 THE COURT: January 11th. I don't think I will need
6 | oral argument. If I do, I will call you.

7 MR. VITALE: Thank you, Your Honor.

8 THE COURT: All right. Thank you.

9 MR. SCHER: Thank you, Your Honor.

10 THE COURT: Is there any possibility of settling

11 | this case? It doesn't look like there are huge damages. Am I

12 | right?
13 MR. VITALE: We're in discussion, Your Honor.
14 THE COURT: Okay. Should I send you to the

15 | Magistrate Judge or a mediator or something?
16 MR. SCHER: We had a settlement conference in the
17 | case already with Magistrate Mann who put a specific number on

18 | the case.

19 THE COURT: I see.

20 MR. SCHER: I don't know if I'm at liberty to say
21 | that.

22 THE COURT: No. I don't want to know about it.
23 MR. SCHER: But we went through that process, but

24 | our ears are still open and, frankly, we'd like to settle the

25 | case. I think we've been more than reasonable. Hopefully,

CMH OCR RMR CRR FCRR
Case 1:14-cv-05960-NG-RLM Document 82-1 Filed 01/11/19 Page 11 of 11 PagelD #: 879

10

1 | we'll continue the discussions but we will try.

2 MR. VITALE: Definitely.

3 THE COURT: Okay. So is there anything I can do to
4 | help you with that, that is, by sending you to the Magistrate
5 | Judge or sending you to a mediator?

6 MR. VITALE: At this point, Your Honor, I don't

7 | think so but I really appreciate it. You now, if we need

8 | something, we would definitely reach out to the Court to see
9 | if you can help us. I don't mean to speak for plaintiffs’

10 | counsel, but I feel like I have a little bit.

11 THE COURT: Okay. Well, let me know or give me a
12 | call. If you feel you need outside assistance, call Victor
13 | and he can either -- well, I am sure you can call Judge Mann
14 | directly if you want to speak with her again but if you would
15 | like a mediation order, call either her office or call Victor

16 | and we can prepare an order for my signature.

17 MR. SCHER: We'll discuss that.
18 THE COURT: All right. Thanks very much.
19 MR. VITALE: Thanks very much, Your Honor.
20 MR. SCHER: Thank you.
21 (Matter concluded. )
22
23
24
25
CMH OCR RMR CRR FCRR

I certify that the foregoing is a correct transcript from the record of proceedings in the above-entitled matter.
/s/_ Charleane M. Heading January 9, 2019

